Case 1:10-cv-01760-JEB Document 106 Filed 10/08/13 Page 1 of 2

UNITED STATES DISTRICT COURT FILED
FOR THE DISTRICT OF COLUMBIA
OCT -8 2013
Clerk, U.8. District & Bankruptcy
KAY PATTESON, Courts for the District of Columbla
Plaintiff, io i1eo C TB)
Vv. Civil Action No. /
JOHN MALONEY,
Defendant.
VERDICT FORM

1. Has the Plaintiff proved by a preponderance of the evidence that the Defendant
violated the applicable standard of care by prescribing Seroquel and that such

negligence proximately caused the Plaintiffs japtiries?
YES __ NO

If your answer to this question is YES, then go to Question 2. If your answer to this
question is NO, then go to Question 3.

2. Has the Defendant proved by a preponderance of the evidence that the Plaintiff was
negligent and that such negligence proximately caused Plaintiffs own injuries?

YES NO

Go to Question 3.

3. Has the Plaintiff proved by a preponderance of the evidence that the Defendant did
not exercise reasonable care in advising the Plaintiff of all material risks connected
with Seroquel?

YES

Case 1:10-cv-01760-JEB Document 106 Filed 10/08/13 Page 2 of 2

If your answer to Question 2 is NO or your answer to Question 3 is YES, then go to
Question 4. If not, then stop here.

4, What amount of non-economic damages, if any, has the Plaintiff proven were
proximately caused by the Defendant’s actions?

$

